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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :          Case No. 21-cr-367-RDM
                                             :
JALISE MIDDLETON, and                        :
MARK MIDDLETON,                              :
                                             :
                        Defendants.          :

                         UNOPPOSED JOINT MOTION TO CONTINUE

        The United States hereby files this joint request for a continuance. Undersigned counsel

represents the following:

                                                  I.

        This case is currently set for April 11, 2022, for a change of plea hearing.

                                                 II.

        The parties jointly request that the change of plea hearing be converted to a status

hearing, and be continued from April 11, 2022, to May 10, 2022, at 11:00 am EDT. Defendants

understand and waive their speedy trial right until May 10, 2022. The parties further consent

to the status hearing proceeding remotely via Zoom.

                                                 III.

        This request for a continuance is not for purposes of delay, but so that justice may be

done. It will also allow the parties to continue discussing alternative resolutions to this case,

potentially short of trial.

                                                 IV.

        Counsel for the United States has conferred with counsel for Defendants, who do not oppose

the continuance.
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       WHEREFORE, the United States respectfully requests that the Court grant this unopposed

joint motion to continue this case to the date requested.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                     By:     _____/s/ Brian P. Kelly
                                             BRIAN P. KELLY
                                             Assistant United States Attorney
                                             United States Attorney’s Office
                                             District of Columbia
                                             D.C. Bar No. 983689
                                             555 4th Street, N.W.
                                             Washington, D.C. 20530
                                             (202) 252-7503
                                             Brian.Kelly3@usdoj.gov


                              CERTIFICATE OF CONFERENCE

       I, Brian P. Kelly, hereby certify that on April 8, 2022, I conferred with Phillip Linder and

James Lee Bright, counsel for Defendants, on the above-referenced Unopposed Joint Motion to

Continue and they indicated they had no objection to the granting of this Unopposed Joint

Motion to Continue.

                                                      /s/ Brian P. Kelly
                                                      Brian P. Kelly


                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of this document has been forwarded to all

counsel via ECF, on this 8th day of April 2022.

                                                      /s/ Brian P. Kelly
                                                      Brian P. Kelly
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
              v.                              :       Case No. 21-cr-367-RDM
                                              :
JALISE MIDDLETON, and                         :
MARK MIDDLETON,                               :
                                              :
                      Defendants.             :

                           [PROPOSED] ORDER GRANTING
                       UNOPPOSED JOINT MOTION TO CONTINUE

           This matter having come before the Court pursuant to an Unopposed Joint

    Motion to Continue the above-referenced case,

           IT IS HEREBY ORDERED that the Motion is GRANTED. The Court orders the

    change of plea hearing to be converted to a status hearing, and for the status hearing to be

    continued from April 11, 2022, to May 10, 2022, at 11:00 am EDT.



Date:                                                 ___________________________
                                                      RANDOLPH D. MOSS
                                                      UNITED STATES DISTRICT JUDGE
